Case 2:20-cv-00479-JFW-JPR Document 77 Filed 06/07/21 Page 1 of 1 Page ID #:9367




                       UNITED STATES COURT OF APPEALS                        FILED
                              FOR THE NINTH CIRCUIT                           JUN 7 2021
                                                                          MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
  CLAYTON SALTER, individually, and on             No.    21-80038
  behalf of all others similarly situated,
                                                   D.C. No.
                  Plaintiff-Petitioner,            2:20-cv-00479-JFW-JPR
                                                   Central District of California,
   v.                                              Los Angeles

  QUALITY CARRIERS, INC., an Illinois              ORDER
  Corporation; QUALITY DISTRIBUTION,
  INC., a Florida Corporation,

                  Defendants-Respondents.

  Before: SILVERMAN and NGUYEN, Circuit Judges.

        Petitioner’s motion for leave to file a reply (Docket Entry No. 3) is granted.

        The court, in its discretion, grants the petition for permission to appeal the

  district court’s April 9, 2021 order denying class action certification. See Fed. R.

  Civ. P. 23(f); Chamberlan v. Ford Motor Co., 402 F.3d 952 (9th Cir. 2005).

  Within 14 days after the date of this order, petitioner shall perfect the appeal in

  accordance with Federal Rule of Appellate Procedure 5(d).




  SC/MOATT
